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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MONTANA
                                 HELENA DIVISION
SAVANNAH WITT,                               Cause No. CV-21-31-SEH

                    Plaintiff,

       vs.                                     ORDER OF DISMISSAL WITH
                                                      PREJUDICE
UNUM LIFE INSURANCE
COMPANY OF AMERICA,

                    Defendant.
      The parties having filed a stipulation for dismissal pursuant to Rule 41,
Federal Rules of Civil Procedure (Doc. 8),
      ORDERED:
      The above-captioned cause is DISMISSED WITH PREJUDICE, each party
to pay its own costs and fees.


      DATED this _tl?ctay of October, 2021.




                                       United States District Court Judge
